Case 1:18-cv-24407-UU Document 71 Entered on FLSD Docket 04/17/2020 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO 1:18-cv-24407-UU

  MARCELO PENA, et al.,

          Plaintiffs,

  v.

  JOHN C. HEATH, ATTORNEY AT LAW,
  PLLC D/B/A LEXINGTON LAW FIRM.,

          Defendant,

  ______________________________________/


                            ORDER AWARDING ATTORNEYS’ FEES

         THIS CAUSE comes before the Court upon Class Counsel’s Stipulation Regarding Attorneys’

 Fees, (D.E. 69), filed on April 16, 2020. THE COURT having reviewed the Stipulation and the pertinent

 parts of the record and being otherwise fully advised in the premises, it is hereby

         ORDERED AND ADJUDGED that Class Counsel is awarded $792,531.00 in attorneys’ fees.

 The case remains closed.

         DONE and ORDERED in Chambers in Miami, Florida, this __16th__ day of April, 2020.


                                                         __________________________________
                                                         URSULA UNGARO
                                                         UNITED STATES DISTRICT JUDGE

 Copies furnished to: Counsel of Record
